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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:
                                                             Chapter 11
Fieldwood Energy III LLC, et al.,1
                                                             Case No. 20-33948 (MI)
                       Post-Effective Date Debtors.



Fieldwood Energy III LLC,
                                            Plaintiff,
vs.
                                                             Adv. No. Refer to Summons
Star Measurement Sales and Service, Inc.,
                                    Defendant.

                    COMPLAINT TO AVOID AND RECOVER TRANSFERS
                       PURSUANT TO 11 U.S.C. §§ 547, 548, AND 550

         Fieldwood Energy III LLC, one of the above-captioned reorganized debtors (collectively,

the “Debtors,” as applicable, and after the effective date of their plan of reorganization, the

“Reorganized Debtors”), by and through its undersigned counsel, files this complaint (the

“Complaint”) to avoid and recover transfers against Star Measurement Sales and Service, Inc. (the




1
  The Post-Effective Date Debtors, along with the last four digits of each Post-Effective Date Debtor’s federal tax
identification number, as applicable, are: Fieldwood Energy III LLC (6778); Fieldwood Energy Offshore LLC (4494),
Fieldwood Energy Inc. (4991), GOM Shelf LLC (8107), and FW GOM Pipeline, Inc. (8440). Fieldwood Energy III
LLC, Fieldwood Energy Offshore LLC, and Fieldwood Energy Inc. are managed and operated by the Plan
Administrator, whose primary mailing address is 16255 Ventura Blvd., Suite 440, Encino, CA, 91436, C/O of Province
LLC. GOM Shelf LLC and FW GOM Pipeline, Inc. (collectively, the “Post-Effective Date FWE I Subsidiaries”) are
managed and operated by Jon Graham, as sole manager of each Post-Effective Date FWE I Subsidiary. The Debtors
in the other nine pending chapter 11 cases (which continue to be jointly administered with the cases of the Post-
Effective Date Debtors), each of which have either been dissolved or merged into other entities as of the Effective
Date, consist of the following: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Onshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); Bandon Oil and Gas GP, LLC (9172); Bandon
Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay
Processing LLC (0422).


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“Defendant”) and to disallow any claims held by Defendant. In support of this Complaint, Plaintiff

alleges upon information and belief that:

                                   NATURE OF THE CASE

       1.    Plaintiff seeks to avoid and recover from Defendant, or from any other person or

entity for whose benefit the transfers were made, all (a) preferential transfers of property of the

Debtors that occurred during the ninety (90) day period prior to the commencement of the

bankruptcy proceedings of the Debtors pursuant to sections 547 and 550 of chapter 5 of title 11 of

the United States Code (the “Bankruptcy Code”) and, subject to proof, (b) transfers that may have

been fraudulent conveyances pursuant to sections 548 and 550 of the Bankruptcy Code.

                                JURISDICTION AND VENUE

       2.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this Complaint pursuant to 28 U.S.C. § 1334 and the Order of

Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012) (Hinojosa,

C.J.). The underlying chapter 11 bankruptcy cases are captioned In re Fieldwood Energy III LLC,

et al., Case No. 20-33948 (MI).

       3.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). In

addition, Plaintiff confirms its consent, pursuant to Federal Rule of Bankruptcy Procedure (the

“Bankruptcy Rules”) 7008 and Rule 7008-1 of the Bankruptcy Local Rules for the United States

Bankruptcy Court for the Southern District of Texas, to the entry of a final order by the Court in

connection with this Complaint to the extent that it is later determined that the Court, absent

consent of the parties, cannot enter final orders or judgments in connection herewith consistent

with Article III of the United States Constitution.




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          4.      Venue of the Debtors’ chapter 11 cases and this adversary proceeding is proper in

    this district pursuant to 28 U.S.C. §§ 1408 and 1409.

          5.      The statutory and legal predicates for the relief sought herein are sections 547, 548,

    and 550 of the Bankruptcy Code and Bankruptcy Rules 3007 and 7001.

                                  PROCEDURAL BACKGROUND

          6.      On August 3, 2020, and August 4, 2020 (the “Petition Dates”), the Debtors filed

    voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

          7.      On August 4, 2020, the Court entered an order authorizing the joint administration

    of the chapter 11 cases for procedural purposes pursuant to Bankruptcy Rule 1015(b) [Docket

    No. 17].2

          8.      On June 25, 2021, the Court entered the Findings of Fact, Conclusions of Law, and

    Order (I) Confirming Eighth Amended Joint Chapter 11 Plan of Fieldwood Energy LLC and Its

    Affiliated Debtors and (II) Granting Related Relief [Docket No. 1751] (the “Confirmation Order”)

    confirming, as modified therein, the Eighth Amended Joint Chapter 11 Plan of Fieldwood Energy

    LLC and Its Affiliated Debtors [Docket No. 1742] (including any exhibits and schedules thereto

    and as may be further amended, supplemented, or modified, including at Docket No. 2008, the

    “Plan”).

          9.      The effective date of the Plan (the “Effective Date”) occurred on August 27, 2021.

    [Docket No. 2016]. [Docket No. 1562]. As a result of certain transactions consummated on the

    Effective Date pursuant to the Plan and Confirmation Order, nine of the fourteen Debtors have

    either been dissolved or merged into other entities as of the Effective Date and five Post-Effective




2
 All docket items referenced are from Case No. 20-33948, under which the Debtors’ bankruptcy cases are jointly
administered.

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    Date Debtors remain: GOM Shelf LLC, FW GOM Pipeline, Inc., Fieldwood Energy III LLC,3

    Fieldwood Energy Inc., and Fieldwood Energy Offshore LLC. The case caption of the main case

    was amended to reflect these changes to the Debtors’ corporate structure following the occurrence

    of the Effective Date. [Docket No. 2060].

          10.     Pursuant to paragraph 11 of the Confirmation Order and section 10.2 of the Plan,

    as of the Effective Date, and pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all

    Assets4 of the Estates, including all claims, rights, and Causes of Action and any property acquired

    by the Debtors or the Post-Effective Date Debtors during the Chapter 11 Cases or under or in

    connection with the Plan shall vest in each respective Post-Effective Date Debtor free and clear

    of all Claims, Liens, charges, other encumbrances, and interests (other than any and all Liens

    securing the FLFO Claims, the obligations under the First Lien Exit Facility, or all Liens securing

    the FLTL Claims that attach to the Credit Bid Acquired Interests and are deemed assigned to the

    Second Lien Exit Facility Agent upon the Effective Date to secure the obligations under the

    Second Lien Exit Facility). [Docket No. 2008].

          11.     Pursuant to section 4.7 of the Plan and Article II of the Disclosure Statement for

    Fourth Amended Joint Chapter 11 Plan of Fieldwood Energy LLC and Its Affiliated Debtors (the

    “Disclosure Statement”),5 General Unsecured Claims, as well as other certain classes of Claims,

    comprise impaired classes of creditors and are not expected to be paid in full.




3
 As contemplated by the Plan, Fieldwood Energy LLC changed its name to Fieldwood Energy III LLC following a
Divisive Merger pursuant to the Initial Plan of Merger.
4
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan and/or
Confirmation Order.
5
    Docket No. 1285.


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                                               THE PARTIES

        12.      Pursuant to section 10.11(a) of the Plan, the Post-Effective Date Debtors shall have,

retain, reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff or

recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not been

commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired Claim

may be asserted after the Confirmation Date and Effective Date to the same extent as if the Chapter

11 Cases had not been commenced. Accordingly, under the Plan and Confirmation Order, Plaintiff

is authorized and has standing, among other things, to prosecute and settle all Causes of Action

retained6 on behalf of the Debtors, including this avoidance action under Chapter 5 of the

Bankruptcy Code.

        13.      Upon information and belief, Defendant was, at all relevant times, a vendor or

creditor that provided gas and liquid measurement equipment to or for the Debtors. Upon further

information and belief, at all relevant times, Defendant’s principal place of business is located at

2261 Heritage Road, Rayne, Louisiana 70578 . Plaintiff is informed and believes and on that basis

alleges that Defendant is a corporation residing in and subject to the laws of the State of Louisiana.

                                      FACTUAL BACKGROUND

        14.      As more fully discussed in the Disclosure Statement, the Debtors were one of the

largest oil and gas exploration and production companies in the Gulf of Mexico. The Debtors

operated an energy business focused on the acquisition, development, exploration, and production

of oil and natural gas properties. As of the Petition Date, the Debtors had over 300 operated

platforms spread across more than 1.5 million gross acres. The Debtors employed over 600


6
 See Amended Plan Supplement in Connection with Fourth Amended Joint Chapter 11 Plan of Fieldwood Energy
LLC and Its Affiliated Debtors (the “First Amended Plan Supplement”), [Docket No. 1562-1, Exhibit C] (Schedule of
Retained Causes of Action)


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employees across their offices in Houston, Lafayette, and offshore, in addition to over 500 contract

personnel.

        15.      Prior to the Petition Date, the Debtors, as gas exploration and production

companies, maintained business relationships with various business entities, through which the

Debtors regularly purchased, sold, received, and/or delivered goods and services. The Debtors also

regularly paid for services used to facilitate its business.

        16.      The Debtors’ financial difficulties that led to the decision to file for chapter 11

bankruptcy protection are attributable to a combination of factors, all of which placed significant

stress on the Debtors’ liquidity position in the months leading up to the Petition Date.7 The Debtors

proactively took a number of steps before filing the chapter 11 Cases in an effort to deleverage

their balance sheets, bolster liquidity, address near-term interest payments, and maximize value

for stakeholders. The Debtors, however, continued to face a challenging commodity price

environment, which constrained their liquidity and affected operations. Ultimately, the precipitous

decline in oil prices from the combined effect of the COVID-19 pandemic and general

deterioration of commodity prices forced the Debtors to pursue restructuring transactions.

        17.      As of the Petition Dates, the Debtors utilized a cash management system (the “Cash

Management System”) for the collection, concentration, management, and disbursement of funds

in the Debtors’ business.8 Under the Cash Management System, disbursements were primarily

made from the main operating account held by Debtor Fieldwood Energy, LLC (“Fieldwood




7
  A summary of the Debtors’ prepetition operations, debt structure, and factors that led to the Bankruptcy Case are
set forth in the Disclosure Statement and are incorporated herein by reference.
8
  See Emergency Motion Of Debtors For Interim and Final Orders (I) Authorizing Debtors To (A) Continue Their
Existing Cash Management System, (B) Maintain Existing Business Forms, (C) Continue Intercompany
Arrangements, and (D) Continue Utilizing Corporate Credit Cards; And (II) Granting Related Relief (the “Cash
Management Motion”) [Docket No. 6]. The further details concerning the Cash Management System contained in the
Cash Management Motion are incorporated herein by reference.

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Energy”). The Debtors separately paid royalty obligations from a revenue account also held

Fieldwood Energy. In the ordinary course of business, Fieldwood Energy made payments and

disbursements on behalf of the other Debtors. In those instances, the Debtors tracked all

intercompany claims created in their centralized accounting system. The Debtors maintained

records of all transactions processed through their Cash Management System.

       18.    During the ninety (90) days before the Petition Date, that is between May 5, 2020

and August 3, 2020 (the “Preference Period”), the Debtors continued to operate their business

affairs, including the transfer of property, either by checks, cashier checks, wire transfers, ACH

transfers, direct deposits, credit card payment, or otherwise to various entities.

       19.    Upon information and belief, during the course of their relationship, the Defendant

and one or more of the Debtors entered into agreements, which are evidenced by invoices,

communications and other documents (collectively, the “Agreements”). The Agreements

concerned and related to the goods and/or services provided by Defendant to one or more of the

Debtors as described in the “Parties” section of this Complaint. The payments to the Defendant

in respect of the Agreements during the Preference Period are set forth on the Statement of

Account, which is attached hereto and incorporated by reference as Exhibit A. Such details

include “Invoice Number,” “Invoice Date,” and “Invoice Amount.”

       20.    One or more of the Debtors made transfer(s) of an interest of the Debtors’ property

to or for the benefit of Defendant during the Preference Period through payments aggregating to

an amount not less than $25,136.96 (the “Transfer” or “Transfers”). The details of each Transfer

are set forth on Exhibit A attached hereto and incorporated by reference. Such details include

“Check Number,” “Check Amount,” “Check Clear Date,” and “Debtor Transferor(s).”




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      21.    Plaintiff is seeking to avoid all of the transfers of an interest of the Debtors’ property

made by the applicable Debtor(s) to Defendant within the Preference Period.

      22.    Prior to filing this Complaint, and as part of the due diligence requirements under

the statutes applicable to this action, Plaintiff undertook a review of the information and data

underlying this avoidance action, which review included:

             a. A review and identification of the entities released by the Debtors pursuant to

                 section 10.7 of the Plan;

             b. A review and identification of the entities with assumed and assigned contracts

                 pursuant to Exhibit D to the Sixth Amended Plan Supplement in Connection

                 with Modified Eighth Amended Joint Chapter 11 Plan of Fieldwood Energy

                 LLC and Its Affiliated Debtors [Docket No. 2013];

             c. A review and identification of those entities who were deemed “holders of

                 Unsecured Trade Claims” as defined in the Plan and therefore released under

                 section 10.11(b) of the Plan and Exhibit C of the First Amended Plan

                 Supplement (Schedule of Retained Causes of Action);

             d. A review of the claims docket to identify, to the best of Plaintiff’s ability and

                 upon information and belief, those holders of General Unsecured Claims as

                 defined in the Plan and therefore released under section 10.11(b) of the Plan

                 and Exhibit C of the First Amended Plan Supplement (Schedule of Retained

                 Causes of Action);

             e. A review of the accounts payable information Plaintiff was able to obtain to

                 confirm, to the best of Plaintiff’s ability and upon information and belief, the

                 existence of antecedent debt and payment date data; and



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              f. A review of other certain miscellaneous items and information that may have

                  made the pursuit of a preference unviable.

      23.     Additionally, as part of Plaintiff’s due diligence, Plaintiff reviewed the books and

records in Plaintiff’s possession and identified that Defendant potentially has certain invoices

qualifying for the subsequent new value defense under section 547(c)(4) of the Bankruptcy Code.

However, the subsequent new value defense is an affirmative defense, for which Defendant bears

the burden of proof under section 547(g). The potential new value is based on the invoice date in

the books and records. As the dates for new value are often based on the shipping dates for goods

and the actual dates of service for services, this new value is subject to adjustment. Accordingly,

Plaintiff puts Defendant to its burden of proof to establish it is entitled to this new value.

      24.     Based upon Plaintiff performing its own due diligence evaluation of the reasonably

knowable affirmative defenses to avoidance of the Transfer(s), including the review and

evaluation described in the two immediately preceding paragraphs, Plaintiff has determined that

Plaintiff may avoid some or all of the Transfers even after taking into account Defendant’s alleged

affirmative defenses.

      25.     During the course of this proceeding, Plaintiff may learn (through discovery or

otherwise) of additional transfers made to Defendant during the Preference Period. It is Plaintiff’s

intention to avoid and recover all transfers made by the Debtors of an interest of the Debtors in

property and to or for the benefit of Defendant or any other transferee. Plaintiff reserves its right

to amend this original Complaint to include: (i) further information regarding the Transfer(s), (ii)

additional transfers, (iii) modifications of and/or revision to Defendant’s name, (iv) additional

defendants, and/or (v) additional causes of action, if applicable (collectively, the “Amendments”),




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that may become known to Plaintiff at any time during this adversary proceeding, through formal

discovery or otherwise, and for the Amendments to relate back to this original Complaint.

                                    CLAIMS FOR RELIEF

                                  First Claim for Relief
                   (Avoidance of Preference Period Transfers – 11 U.S.C. § 547)

      26.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein, to the

extent they are not inconsistent with allegations contained in this First Claim for Relief.

      27.     As more particularly described on Exhibit A attached hereto and incorporated

herein, during the Preference Period, the Debtors identified on Exhibit A made Transfers to or for

the benefit of Defendant in an aggregate amount not less than $25,136.96.

      28.     Each Transfer was made from Debtors as identified on Exhibit A, constituted a

transfer of an interest in property of the transferring Debtors as identified on Exhibit A.

      29.     Defendant was a creditor at the time of each Transfer by virtue of supplying the

Debtors identified on Exhibit A the goods and/or services identified in this Complaint and in the

Agreements, as more fully set forth on Exhibit A hereto, for which the Debtors identified on

Exhibit A were obligated to pay following delivery in accordance with the Agreements.

      30.     Each Transfer was to or for the benefit of a creditor within the meaning of section

§ 547(b)(1) of the Bankruptcy Code because each Transfer either reduced or fully satisfied a debt

or debts then owed by the Debtors identified on Exhibit A to Defendant.

      31.     Each Transfer was made for, or on account of, an antecedent debt or debts owed by

the Debtors identified on Exhibit A to Defendant before such Transfers were made, as asserted

by Defendant and memorialized in the Agreements, each of which constituted a “debt” or “claim”

(as those terms are defined in the Bankruptcy Code) of Defendant prior to being paid by the

transferring Debtors as set forth on Exhibit A hereto.

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      32.      Each Transfer was made while the Debtors were insolvent. Plaintiff is entitled to

the presumption of insolvency for each Transfer made during the Preference Period pursuant to

section 547(f) of the Bankruptcy Code.

      33.      Each Transfer was made during the Preference Period, as set forth on Exhibit A.

      34.      As a result of each Transfer, Defendant received more than Defendant would have

received if: (i) the Debtors’ cases were under chapter 7 of the Bankruptcy Code; (ii) the Transfers

had not been made; and (iii) Defendant received payments of its debts under the provisions of the

Bankruptcy Code. As evidenced by the Debtors’ schedules filed in the underlying bankruptcy

case as well as the proofs of claim that have been received to date, the Debtors’ liabilities exceed

their assets to the point that unsecured creditors will not receive a full payout of their claims from

the Debtors’ bankruptcy estates.

      35.      In accordance with the foregoing, each Transfer is avoidable pursuant to section

547(b) of the Bankruptcy Code.

                                  Second Claim for Relief
                 (Avoidance of Fraudulent Conveyances – 11 U.S.C. § 548(a)(1)(B))

      36.      Plaintiff hereby incorporates all previous allegations as though fully set forth

herein, to the extent they are not inconsistent with allegations contained in this Second Claim for

Relief.

      37.      To the extent one or more of the Transfers identified on Exhibit A was not made

on account of an antecedent debt, was a prepayment for goods and/or services subsequently

received, or was a transfer made by one Debtor without a corresponding intercompany receivable

recorded concerning the Debtor incurring the debt, Plaintiff pleads in the alternative that the

Debtors making such transfer(s) did not receive reasonably equivalent value in exchange for such

transfer(s) (the “Potentially Fraudulent Transfers”); and

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       A.      The Debtors were insolvent as of the date of the Transfer(s), or became insolvent

as a result of the Transfer(s); or

       B.      The Debtors were engaged, or about to engage, in business or a transaction for

which any property remaining with the Debtors was an unreasonably small capital; or

       C.      The Debtors intended to incur, or believed they would incur, debts beyond their

ability to pay upon maturity.

       38.     Based upon the foregoing, the Potentially Fraudulent Transfers are avoidable

pursuant to section 548(a)(1)(B) of the Bankruptcy Code.

                                        Third Claim for Relief
                           (Recovery of Avoided Transfers – 11 U.S.C. § 550)

       39.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein, to the

extent they are not inconsistent with allegations contained in this Count.

       40.     Plaintiff is entitled to avoid the Transfer(s) pursuant to section 547(b) of the

Bankruptcy Code and/or any Potentially Fraudulent Transfers pursuant to section 548 of the

Bankruptcy Code (collectively, the “Avoidable Transfers”).

       41.     Defendant was the initial transferee of the Avoidable Transfer(s) or the immediate

or mediate transferee of such initial transferee or the person for whose benefit the Avoidable

Transfer(s) were made.

       42.     Pursuant to section 550(a) of the Bankruptcy Code, Plaintiff is entitled to recover

from Defendant the Avoidable Transfer(s), plus interest thereon to the date of payment and the

costs of this action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court grant the following relief against

Defendant:

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          A.   On Plaintiff’s First, Second, and Third Claims for Relief, judgment in favor of

Plaintiff and against Defendant, avoiding all of the Avoidable Transfers and directing Defendant

to return to Plaintiff the amount of the Avoidable Transfers, pursuant to sections 547(b), 548, and

550(a) of the Bankruptcy Code, plus interest from the date of demand at the maximum legal rate

and to the fullest extent allowed by applicable law, together with the costs and expenses of this

action including, without limitation, attorneys’ fees; and

          B.   Granting Plaintiff such other and further relief as this Court may deem just and

proper.

Dated: August 3, 2022
                                         ASK LLP

                                         By: /s/ Kara E. Casteel _______
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